 The People of the State of Colorado, Petitioner/Cross-Respondent  v.  Kirk Anthony Jones, Respondent/Cross-Petitioner No. 22SC469Supreme Court of Colorado, En BancJanuary 17, 2023
    
      &nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; Court
      of Appeals Case No. 18CA1635
    
    
    
      &nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;Petition
      and Cross-Petition for Writ of Certiorari DENIED.
    
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